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                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON




UNITED STATES OF AMERICA,                               Case No. 6:01-cr-60100-AA

              Plaintiff,                                           OPINION AND ORDER

     v.

ANN MARIE HASKINS,

             Defendant.


AIKEN, Chief Judge:

     Defendant, Anne Marie Haskins moves the Court for an Order

acknowledging full satisfaction of the Restitution Judgment for

$350,000     imposed        against    her    by     Judge     Michael     R.        Hogan   for

violation      of     18    U.S.C.      §    1344.       Def.'s     Mot.        to     Satisfy

Restitution      J.    1.      Plaintiff,        the   United     States        of    America,

represented by Billy J.              Williams,       Acting United States Attorney

for the District of Oregon,                 and through Assistant United States

Attorney,      Kathleen       L.      Bickers,       opposes     defendant's           motion.

Pl.'s Resp. to Def.'s Mot. 1.

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                                                 BACKGROUND

        On    January     23,            2002,    defendant                pleaded            guilty           to     bank

fraud,       18 U.S.C.        §    1344.         Id.         On January 24,                      2002,       defendant

was    sentenced to           thirty days              imprisonment                    and       received credit

for time served.                  Id.    at 2.         Defendant was also ordered to pay

$350,000 in restitution to the U.S.                                   District Court for transfer

to     the    payee,     U.S.            Bank    Special              Assets           Group           (U.S.        Bank).

Affidavit       of     John         C.     Fisher           in        Supp.       of         Mot.       to        Satisfy

Restitution       J.     9.             Defendant       was           ordered          to        pay     the        entire

$350,000       immediately               and      any        unpaid             balance           at      the         time

defendant was release from custody was to be paid at the maximum

installment possible, but not less than $50 per month.                                                       Id.

        On or about November 20,                       2002,          U.S.       Bank assigned all its

rights and claims against defendant to Horton                                                &   Associates LLC

(Horton) .       Pl.'s Resp.              to Def.'s Mot.                   2.     On November 4,                     2011,

an order to substitute the victim from U.S.                                             Bank to Horton was

entered by Judge Hogan.                    Affidavit of John C. Fisher in Supp. of

Mot.     to    Satisfy        Restitution              J.        2.        On         September           26,        2013,

defendant       advised           plaintiff        that          Horton          accepted           a    settlement

offer    from her        in the           amount        of       $5, 000         on September                6,      2013.

Pl.'s Resp.       to Def.'s Mot.                 2;     Id.       at Ex.          D,    2.        At that time,

plaintiff       had    satisfied            $13,044.30                of        the     Restitution                Order,

leaving a balance of $336,955.70.                                Id. at Ex. A, 2

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        On April        28,       2015,      plaintiff received an offset                            from the

Treasury Tax Offset Program (TOP)                             that was taken from defendant

in    the     amount       of        $21,782.        Id.          On    May     8,      2015,        defendant

submitted a motion to this Court for an order acknowledging full

satisfaction           of       the        restitution           judgment            pursuant         to      the

settlement agreement she made with Horton on September 26, 2013.

Def.' s      Mot.     to    Satisfy          Res ti tut ion       J.     1.        On     May     22 ,     2 015 ,

$21,765 of the TOP offset was posted to defendant's restitution

debt       ($21,782        less       a    $17.00     processing          fee),         resulting          in     a

total restitution payment to date of $34,809.30, and a remaining

balance of $315,190.70.                      Pl.' s Resp.          to Def.' s Mot.              2.       On May

28,        2015,     plaintiff              filed        a      response        in        opposition            to

defendant's instant motion.                        Id.

                                                DISCUSSION

        Plaintiff           opposes          defendant's               motion        to     satisfy           the

Restitution Judgment for the reduced amount of $5,000 and argues

that pursuant to the Mandatory Victim Restitution Act                                             (MVRA)        (18

U.S. C.     §§     3 663A and 3 6 64) ,            full      restitution is mandatory.                        Id.

at    3.      Moreover,           plaintiff          asserts       that       it      has    no      detailed

information on defendant's income,                              but argues that the                      $21,782

TOP     offset       from       April        28,     2015       suggests        that        defendant           is

generating          significant            income,        which    Horton may not                 have      been

aware       of      when        it        entered        into     the      agreement            to        settle

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defendant's          out~tanding            debt for "pennies on the dollar."                             Id.

Finally, plaintiff .argues that even if Borton has elected not to

receive any additional restitution payments,                                  the $21, 782 offset

that     was        posted      to        defendant's          restitution        debt       after        the

agreement,          as   well        as    any       future     funds      recovered        as    part     of

defendant's sentence,                 should be ordered deposited into the Crime

Victims Fund (CVF) pursuant to 18 U.S.C.                               §   3664(g)(1)(2).

        Defendant argues that "there is nothing in the                                      [MVRA]       that

forbids        an     assignee,            or    even      a     victim,      from       executing          a

satisfaction of judgment or from reaching a separate settlement

of     its    claim"      and,        therefore,           "satisfaction          of     judgment          is

permissible because it is not forbidden."                                   Def.'s Mem.          in Supp.

of     Mot.    to     Satisfy         J.    2.        Moreover,         defendant      cites        United

States v.       Turner,         for        the proposition that what a                   third party

transferee of an interest in res ti tut ion payments "elects to do

with the stream of payments he has purchased is for him to say"

and,    therefore,        the        satisfaction of                 judgment agreement between

her and Horton should be honored.                              Id.    (quoting United States v.

Turner, 312 F. 3d 1137, 1144 (9th Cir. 2002)).

        The MVRA provides for mandatory restitution and covers "any

offense        committed        by         fraud      or      deceit                   in        which     an

identifiable victim or victims has suffered a physical injury or

pecuniary loss."             18 U.S.C.           §    3663A(c) (1).         The MVRA states that

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"[i]n        each        order        of     restitution,                the    court        shall         order

res ti tut ion to each victim in the full amount of each victim's

losses as determined by the court and without consideration of

the      economic              circumstances                 of      the       defendant."            Id.      §


3664 (f) (1) (A).              Further,          a     court      "may increase          res ti tut ion       on

petition by the victim."                             Turner,       312   F.3d at 1143           (citing 18

u.s.c.       §   3664 (d) (5)).            A court "may also resentence a defendant

upon     a       finding       that        the       defendant       has       defaulted       upon       h[er]

restitution obligation."                         Id.    (citing 18 U.S.C.               §§   3613A,       3614).

Finally,          a    victim     may        designate             her     restitution         to     another

person or organization,                     id.        (citing 18 U.S.C.            §    3663(b)(5)),         or

may assign her "interest in restitution payments to the CVF in

the Treasury without in any way impairing the obligation of the

defendant to make such payments."                                 18 U.S.C.     §   3664 (g) (2).

       Here,           the    main     thrust           of     defendant's          argument         is     that

because          the    MVRA     does        not        expressly          forbid       satisfaction          of

judgment agreements, her agreement with Horton should be honored

and    the       remainder        of       her       restitution           discharged.              Moreover,

defendant quotes part of the Ninth Circuit's holding in Turner

to support her claim.                       However,           defendant's reliance on Turner

is misplaced.                Specifically, the Turner court held that:

       It appears that the government,    and perhaps,  the
       district judge, fear that             the deterrence
       intended in the original restitution order will, in

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        the future, somehow be avoided.    Turner is subject to
        the full amount of restitution.    It is to be paid to
        the court registry and supervised by the probation
        office.    That office should, pursuant to 18 U.S. C. §
        3663(b) (5),   recognize  and   honor   as   valid   the
        assignment of restitution by the banks to Sandall [the
        assignee of the restitution asset] .    The banks' sale
        of their restitution asset is the banks' business.
        What Sandall elects to do with the stream of payments
        he has purchased is for him to say.     What may or may
        not happen in the future was not before the district
        court.

Turner, 312 F.3d at 1144 (emphasis supplied).

        A     plain      reading       of     this     holding     makes      clear    that      a

defendant must pay the full amount of restitution to the victim,

or the assignee of the victim's restitution asset.                               Accordingly,

defendant's            restitution      obligation        is     not   discharged       by     the

satisfaction           agreement       she    entered     into    with      Horton.      Turner

also makes clear that the assignee of the restitution asset may

do     what      she     chooses       with     the     stream    of    payments       she     has

purchased.             Thus,    this    Court    must     also    determine      whether       the

$21, 782 offset from the TOP on April 28,                          2015,     as well as all

future restitution payments, which Horton states it is no longer

owed        in    the     aforementioned              satisfaction       agreement,          shall

nonetheless be paid to Horton, or instead be paid to the CVF.

        Plaintiff makes two arguments in support of the restitutio,Jil

payments         going    to    the    CVF    rather     than    to    Horton.        Plaintiff

first       argues       that    the     $21,782        offset    likely      suggests        that


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defendant is generating significant income, which Horton may not

have been aware of when it entered into the agreement to settle

defendant's      outstanding debt.                 This    argument     is     fails    for     two

reasons.       First,       plaintiff's          logic is flawed because defendant

and Horton entered into the satisfaction agreement on September

6, 2013 and plaintiff did not receive the TOP offset until April

28,   2015.       Thus,       even     if    the       offset     signaled       an     increase

defendant's      income as plaintiff suggests,                    such an increase did

not create the off set plaintiff relies                         on as    evidence of this

increase until over a year and a half after the agreement was

formed.      Second, prior to entering into the settlement agreement

with defendant, pursuant to 18 U.S.C.                      §   3664(d) (5), Horton could

have petitioned the Court to increase the restitution payment if

it suspected that defendant had increased income at that time.

However,       plaintiff          presents        no   evidence        that     Horton         ever

submitted      such     a    petition.             Accordingly,         plaintiff's         fir~t


argument with regard to this issue fails.

      Next,    plaintiff argues that the restitution should be paid

to the CVF pursuant to the permissive language in 18 U.S.C.                                       §

3664 (g) (2)    because       a     Second       Circuit       case,    United        States     v.

Johnson,    held that "although              §    3664 (g) (2)    authorizes victims to

make .          an assignment         [to the CVF],            it does not preclude the



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Court        from doing so.                ff     United States v.                  Johnson,              378    F.3d 230,

244     (2nd Cir. 2004).

        Al though              not    binding, · this                 Court      finds         Johnson- persuasive

due     to    the         statutory              analysis            it     provides.               Specifically,           in

reaching its decision,                           the      Johnson court noted that the                                Senate

considered            a       version           of    §    3664(g) (1)           that         read:         "[n]o     victim

shall be required to participate in any phase of a                                                             restitution

order.         If         a        victim        declines              to       receive            restitution            made

mandatory by this titler the court shall order that the victim's

share of any res ti tu ti on owed be deposited in the                                                       [CVF)            ff




Id.     (citing S.                 Rep.    No.       104-179,         at 6       (Dec.        6,    1995),       reprinted

in 1996 U.S.C.C.A.N.                        924,      925       (emphasis supplied)).                          The Johnson

court further noted that by the time of the statute's enactment,

however,          this italicized text had been removed.                                             Id .      ( see Pub . 1 .

104-132,          §   206 (a),            110 Stat.             1214,       1234    (1996)).                Finally,       the

Johnson court held that "by removing this text before enacting §

3664 (g) (1),             Congress may have                         suggested that                 assignment        to    the

[CVF]        is       not          mandatory.             It        certainly       did            not     suggest        that

assignment                to        that        fund           is     prohibited.        ff              Id.      (emphasis

suppliedl.

        This Court agrees with the analysis of in Johnson,                                                           insofar

as    it opines that the                         legislative history of §                            3664 (g) (1)         does

not     support                a     conclusion                that       the      assignment               of      rejected

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res ti tut ion     funds    to   the    CVF   are    not     prohibited         by   Congress.

Accordingly,       the $21,782 offset from the TOP on April 28,                            2015,

as well as all future restitution payments from defendant,                                 shall

be deposited into the CVF pursuant to 18 U.S.C. § 3664 (g) (2).

                                         CONCLUSION


      For    the     foregoing         reasons,     defendant's           motion     for    full

satisfaction of        res ti tut ion      (ECF     28)    is    DENIED.        Moreover     the

$21, 782    offset    from the TOP on April                28,    2015,    as    well as     all

future     res ti tut ion    payments      from     defendant       shall       be   deposited

into the CVF pursuant to 18 U.S.C. § 3664(g) (2).

      IT IS SO ORDERED.


                     DATED this    ·aa_-fkay      of October 2015.




                                     Ann Aiken
                            United States District Judge




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